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                                          UNITED STATES BANKRUPTCY COURT
                                             CENTRAL DISTRICT OF ILLINOIS
                                                SPRINGFIELD DIVISION

       In re: HUGHES, DAVID C.                              §     Case No. 19-71781
                                                            §
                                                            §
                                                            §
                    Debtor(s)


                                CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)




               Andrew S. Erickson, chapter 7 trustee, submits this Final Account, Certification that the Estate has
      been Fully Administered and Application to be Discharged.

               1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if
      applicable, any order of the Court modifying the Final Report. The case is fully administered and all assets and
      funds which have come under the trustee’s control in this case have been properly accounted for as provided
      by law. The trustee hereby requests to be discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged
      without payment, and expenses of administration is provided below:



      Assets Abandoned:    $428,676.00                            Assets Exempt:      $4,800.00
      (without deducting any secured claims)

      Total Distributions to Claimants:   $8,110.24               Claims Discharged
                                                                  Without Payment:      $145,840.91


      Total Expenses of Administration:    $1,889.76




               3) Total gross receipts of $10,000.00 (see Exhibit 1), minus funds paid to the debtor and third parties
      of $0.00 (see Exhibit 2), yielded net receipts of $10,000.00 from the liquidation of the property of the estate,
      which was distributed as follows:




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                                               CLAIMS               CLAIMS                CLAIMS               CLAIMS
                                             SCHEDULED             ASSERTED              ALLOWED                PAID


   SECURED CLAIMS (from
   Exhibit 3)                                    $452,091.00                $0.00                $0.00                 $0.00
   PRIORITY CLAIMS:
   CHAPTER 7 ADMIN. FEES AND
   CHARGES (from Exhibit 4)
                                                       $0.00            $1,889.76            $1,889.76             $1,889.76


   PRIOR CHAPTER ADMIN.
   FEES AND CHARGES (from
   Exhibit 5)                                          $0.00                $0.00                $0.00                 $0.00

   PRIORITY UNSECURED CLAIMS
   (from Exhibit 6)                                    $0.00                $0.00                $0.00                 $0.00

   GENERAL UNSECURED CLAIMS
   (from Exhibit 7)                              $114,282.00           $39,669.15           $39,669.15             $8,110.24


   TOTAL DISBURSEMENTS                           $566,373.00           $41,558.91           $41,558.91           $10,000.00




              4) This case was originally filed under chapter 7 on 12/08/2019, and it was converted to chapter 7 on
      01/07/2020. The case was pending for 27 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
      Trustee.

               6) An individual estate property record and report showing the final accounting of the assets of the estate is
      attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
      accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
      and correct.




      Dated:        04/11/2022                        By: /s/ Andrew S. Erickson
                                                                          Trustee




      STATEMENT This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
      Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                    EXHIBITS TO
                                                                  FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                                                                                              UNIFORM                             $ AMOUNT
     DESCRIPTION
                                                                                             TRAN. CODE1                          RECEIVED

 Deposits of money: West Central x3                                                             1129-000                              $1,074.17

 Guns, safe, ammo                                                                               1129-000                                  $327.55

 Misc. household goods, electronics, sports and hobby equipment, outdoor                        1129-000                              $2,047.21
 tools.
 Nonpublic stock and businesses: New American Lending LLC                                       1129-000                                  $818.88

 Nonpublic stock and businesses: ZUMERAL Inc. (software) - value is excluding                   1129-000                                  $818.88
 2812 Pat Tillman Dr. Springfield, IL
 Nonpublic stock and businesses: Smart Firearms                                                 1229-000                                  $818.88

 11 USC Sec 548 COA re: Transfer of Encumbered Real Estate                                      1241-000                              $4,094.43

                             TOTAL GROSS RECEIPTS                                                                                    $10,000.00

 1
  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM                    $ AMOUNT
                 PAYEE                                      DESCRIPTION
                                                                                                   TRAN. CODE                     PAID

                                                                          None




EXHIBIT 3 - SECURED CLAIMS



                                             UNIFORM              CLAIMS
     Claim                                                                                  CLAIMS                  CLAIMS            CLAIMS
                 CLAIMANT                     TRAN.             SCHEDULED
      NO.                                                                                  ASSERTED                ALLOWED             PAID
                                              CODE            (from Form 6D)


      N/F       PHH Mortgage                  4110-000              $434,690.00                        NA                NA                   NA
                Servicing
      N/F       West Central Bank             4110-000                $17,401.00                       NA                NA                   NA

                   TOTAL SECURED                                    $452,091.00                     $0.00              $0.00                $0.00




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EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                        UNIFORM          CLAIMS            CLAIMS                  CLAIMS           CLAIMS
   PAYEE                                 TRAN.         SCHEDULED          ASSERTED                ALLOWED            PAID
                                         CODE

 Trustee, Fees - Andrew S. Erickson     2100-000                 NA            $1,750.00           $1,750.00        $1,750.00

 Trustee, Expenses - Andrew S.          2200-000                 NA              $13.95              $13.95              $13.95
 Erickson
 Bond Payments - BOND                   2300-000                 NA               $1.65               $1.65               $1.65

 Banking and Technology Service         2600-000                 NA             $124.16             $124.16             $124.16
 Fee - Metropolitan Commercial
 Bank
 TOTAL CHAPTER 7 ADMIN. FEES
                                                                 NA            $1,889.76           $1,889.76        $1,889.76
        AND CHARGES




EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                             UNIFORM             CLAIMS              CLAIMS            CLAIMS                  CLAIMS
         PAYEE
                            TRAN. CODE         SCHEDULED            ASSERTED          ALLOWED                   PAID

                                                             None




 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


                                                                                    CLAIMS
                                                   UNIFORM       CLAIMS
 CLAIM                                                                             ASSERTED          CLAIMS       CLAIMS
                      CLAIMANT                      TRAN.     SCHEDULED
  NO.                                                                           (from Proofs of     ALLOWED        PAID
                                                    CODE     (from Form 6E)
                                                                                     Claim)


                                                             None




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 EXHIBIT 7 – GENERAL UNSECURED CLAIMS


                                                                         CLAIMS
                                        UNIFORM        CLAIMS
                                                                        ASSERTED         CLAIMS           CLAIMS
 CLAIM NO.          CLAIMANT             TRAN.      SCHEDULED
                                                                     (from Proofs of    ALLOWED            PAID
                                         CODE      (from Form 6F)
                                                                          Claim)

     1        Capital One Bank          7100-000               NA           $3,417.90     $3,417.90        $698.78
              (USA), N.A.

     2        Capital One Bank          7100-000               NA           $8,159.53     $8,159.53       $1,668.19
              (USA), N.A.

     3        Discover Bank             7100-000               NA           $4,883.17     $4,883.17        $998.35
              Discover Products Inc

     4        Cavalry SPV I, LLC as     7100-000               NA          $14,948.04    $14,948.04       $3,056.08
              assignee of Citibank,
              N.A.

     5        American Express          7100-000               NA           $8,260.51     $8,260.51       $1,688.84
              National Bank c/o
              Becket and Lee LLP

    N/F       Am ex                     7100-000         $8,260.00                NA            NA              NA


    N/F       Bank of America           7100-000        $19,225.00                NA            NA              NA


    N/F       Capital One               7100-000         $3,417.00                NA            NA              NA


    N/F       Capital One               7100-000         $8,159.00                NA            NA              NA


    N/F       Cavalry Portfolio         7100-000        $14,947.00                NA            NA              NA
              Services

    N/F       Discover Financial        7100-000         $4,883.00                NA            NA              NA


    N/F       US Bank/RMS CC            7100-000        $14,723.00                NA            NA              NA


    N/F       US Bank/RMS CC            7100-000        $11,634.00                NA            NA              NA


    N/F       Us Bank                   7100-000         $2,950.00                NA            NA              NA


    N/F       Us Bank                   7100-000        $26,084.00                NA            NA              NA


            TOTAL GENERAL
           UNSECURED CLAIMS                            $114,282.00         $39,669.15    $39,669.15       $8,110.24




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                                                           Form 1
                                                                                                                                                   Exhibit 8
                                       Individual Estate Property Record and Report                                                                Page: 1

                                                        Asset Cases
Case No.:    19-71781                                                                    Trustee Name:      (330780) Andrew S. Erickson
Case Name:        HUGHES, DAVID C.                                                       Date Filed (f) or Converted (c): 01/07/2020 (c)
                                                                                         § 341(a) Meeting Date:       02/24/2020
For Period Ending:        04/11/2022                                                     Claims Bar Date:      05/27/2020

                                   1                             2                      3                      4                   5                    6

                           Asset Description                  Petition/         Estimated Net Value     Property Formally     Sale/Funds           Asset Fully
                (Scheduled And Unscheduled (u) Property)    Unscheduled        (Value Determined By        Abandoned        Received by the     Administered (FA)/
                                                               Values                 Trustee,             OA=§554(a)           Estate           Gross Value of
                                                                              Less Liens, Exemptions,       abandon.                            Remaining Assets
  Ref. #                                                                         and Other Costs)

    1*      2812 Pat Tillman Dr., Springfield, IL             420,000.00                         0.00                                    0.00                        FA
            62711-0000, Sangamon County (See
            Footnote)

    2       2013 Chevy Silverado, 50000 miles                    8,276.00                        0.00                                    0.00                        FA

    3       Misc. household goods, electronics,                  2,500.00                   2,500.00                               2,047.21                          FA
            sports and hobby equipment, outdoor
            tools.

    4       Guns, safe, ammo                                         400.00                   600.00                                   327.55                        FA

    5       Clothing                                                 400.00                      0.00                                    0.00                        FA

    6       2 cats, dog                                                0.00                      0.00                                    0.00                        FA

    7       Deposits of money: Paypal                                  0.00                      0.00                                    0.00                        FA

    8       Deposits of money: West Central x3                   1,311.75                     211.75                               1,074.17                          FA

    9       Nonpublic stock and businesses:                            0.00                 1,000.00                                   818.88                        FA
            ZUMERAL Inc. (software) - value is
            excluding 2812 Pat Tillman Dr.
            Springfield, IL

   10       Nonpublic stock and businesses: New                        0.00                 1,000.00                                   818.88                        FA
            American Lending LLC

   11       Potential cause of action related to family                0.00                      0.00                                    0.00                        FA
            law.

   12*      Nonpublic stock and businesses:                            0.00                      0.00                                    0.00                        FA
            ZUMERAL Inc - value is excluding 2812
            Pat Tillman Dr. Springfield, IL (u) (See
            Footnote)

   13       Nonpublic stock and businesses: Smart                      0.00                 1,000.00                                   818.88                        FA
            Firearms (u)

   14*      Potential cause of action related to family                0.00                      0.00                                    0.00                        FA
            law (u) (See Footnote)

   15       11 USC Sec 548 COA re: Transfer of                         0.00                 5,000.00                               4,094.43                          FA
            Encumbered Real Estate (u)

   15       Assets Totals (Excluding unknown values)         $432,887.75                 $11,311.75                             $10,000.00                     $0.00


         RE PROP# 1          *Property not owned by Debtor. Not estate asset.

         RE PROP# 12         ***THIS IS A DUPLICATE OF ASSET NO. 9. CREATED IN ERROR WHEN AMENDED SCHEDULES FILED BY DEBTOR.
                             MARK FA and SET ALL VALUES to $0.
         RE PROP# 14         *Duplicate of asset no. 11 created in error by software. No value. Set to $0 and mark FA.




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                                                                                                                                  Exhibit 8
                                    Individual Estate Property Record and Report                                                  Page: 2

                                                     Asset Cases
Case No.:   19-71781                                                        Trustee Name:      (330780) Andrew S. Erickson
Case Name:      HUGHES, DAVID C.                                            Date Filed (f) or Converted (c): 01/07/2020 (c)
                                                                            § 341(a) Meeting Date:    02/24/2020
For Period Ending:     04/11/2022                                           Claims Bar Date:     05/27/2020


 Major Activities Affecting Case Closing:

                            I have reached approved compromise with debtor re: 548 COA and equity in personal property, and am
                            collecting payments. As of July 2021, debtor has missed several payments. Debtor cures arrearage and all
                            known assets have been collected. Case will be ready for TFR once all claims resolved. TFR has been
                            submitted to UST. Order approving final report entered 12/23/21.


 Initial Projected Date Of Final Report (TFR): 09/30/2021           Current Projected Date Of Final Report (TFR):    09/30/2021 (Actual)


                     04/11/2022                                                 /s/Andrew S. Erickson
                        Date                                                    Andrew S. Erickson




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                                                                Form 2                                                                              Exhibit 9
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                                                Cash Receipts And Disbursements Record
Case No.:              19-71781                                       Trustee Name:                        Andrew S. Erickson (330780)
Case Name:             HUGHES, DAVID C.                               Bank Name:                           Metropolitan Commercial Bank
Taxpayer ID #:         **-***7638                                     Account #:                           ******7285 Checking
For Period Ending:     04/11/2022                                     Blanket Bond (per case limit):       $22,684,758.00
                                                                      Separate Bond (if applicable):       N/A

    1            2                    3                                       4                                  5                     6                        7

  Trans.    Check or       Paid To / Received From        Description of Transaction         Uniform         Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                         Tran. Code         $                       $

 07/22/20    10001     DAVID C. HUGHES                Settlement Payment (Installment)                               833.33                                          833.33
              {3}                                     Acct #Hughes Settlement;               1129-000
                                                      Payment #1
                                                                                  $100.00
              {4}                                     Acct #Hughes Settlement;               1129-000
                                                      Payment #1
                                                                                  $100.00
              {8}                                     Acct #Hughes Settlement;               1129-000
                                                      Payment #1
                                                                                  $100.00
              {9}                                     Acct #Hughes Settlement;               1129-000
                                                      Payment #1
                                                                                  $104.16
              {10}                                    Acct #Hughes Settlement;               1129-000
                                                      Payment #1
                                                                                  $104.17
              {13}                                    Acct #Hughes Settlement;               1229-000
                                                      Payment #1
                                                                                  $104.17
              {15}                                    Acct #Hughes Settlement;               1241-000
                                                      Payment #1
                                                                                  $220.83
 07/31/20        1     Metropolitan Commercial Bank   Bank and Technology Services           2600-000                                        5.00                    828.33
                                                      Fees
 08/20/20    10002     Zumeral (David Hughes)         Payment under Order Approving                                  833.33                                         1,661.66
                                                      Compromise (Doc. 66)
              {3}                                     Acct #Hughes Settlement;               1129-000
                                                      Payment #2
                                                                                  $177.02
              {4}                                     Acct #Hughes Settlement;               1129-000
                                                      Payment #2
                                                                                   $20.69
              {8}                                     Acct #Hughes Settlement;               1129-000
                                                      Payment #2
                                                                                   $88.56
              {9}                                     Acct #Hughes Settlement;               1129-000
                                                      Payment #2
                                                                                   $64.98
              {10}                                    Acct #Hughes Settlement;               1129-000
                                                      Payment #2
                                                                                   $64.97
              {13}                                    Acct #Hughes Settlement;               1229-000
                                                      Payment #2
                                                                                   $64.97
              {15}                                    Acct #Hughes Settlement;               1241-000
                                                      Payment #2
                                                                                  $352.14
 08/31/20        2     Metropolitan Commercial Bank   Bank and Technology Services           2600-000                                        5.00                   1,656.66
                                                      Fees


                                                                                         Page Subtotals:         $1,666.66                 $10.00


{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                                 ! - transaction has not been cleared
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                                              Cash Receipts And Disbursements Record
Case No.:              19-71781                                        Trustee Name:                       Andrew S. Erickson (330780)
Case Name:             HUGHES, DAVID C.                                Bank Name:                          Metropolitan Commercial Bank
Taxpayer ID #:         **-***7638                                      Account #:                          ******7285 Checking
For Period Ending:     04/11/2022                                      Blanket Bond (per case limit):      $22,684,758.00
                                                                       Separate Bond (if applicable):      N/A

    1            2                    3                                        4                                 5                     6                        7

  Trans.    Check or       Paid To / Received From         Description of Transaction         Uniform        Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                          Tran. Code        $                       $

 09/18/20    10003     Zumeral (David C Hughes)        Installment payment under Order                               833.33                                         2,489.99
                                                       Approving Compromise (Doc. 66)
              {3}                                      Acct #Hughes Settlement;              1129-000
                                                       Payment #3
                                                                                   $177.02
              {4}                                      Acct #Hughes Settlement;              1129-000
                                                       Payment #3
                                                                                    $20.69
              {8}                                      Acct #Hughes Settlement;              1129-000
                                                       Payment #3
                                                                                    $88.56
              {9}                                      Acct #Hughes Settlement;              1129-000
                                                       Payment #3
                                                                                    $64.97
              {10}                                     Acct #Hughes Settlement;              1129-000
                                                       Payment #3
                                                                                    $64.97
              {13}                                     Acct #Hughes Settlement;              1229-000
                                                       Payment #3
                                                                                    $64.97
              {15}                                     Acct #Hughes Settlement;              1241-000
                                                       Payment #3
                                                                                   $352.15
 09/30/20        3     Metropolitan Commercial Bank    Bank and Technology Services          2600-000                                        5.00                   2,484.99
                                                       Fees
 10/19/20    10004     Zumeral, Inc (David C Hughes)   Payment under Compromise (Doc.                                833.33                                         3,318.32
                                                       66) to be applied to A/R
              {3}                                      Acct #Hughes Settlement;              1129-000
                                                       Payment #4
                                                                                   $177.02
              {4}                                      Acct #Hughes Settlement;              1129-000
                                                       Payment #4
                                                                                    $20.69
              {8}                                      Acct #Hughes Settlement;              1129-000
                                                       Payment #4
                                                                                    $88.56
              {9}                                      Acct #Hughes Settlement;              1129-000
                                                       Payment #4
                                                                                    $64.97
              {10}                                     Acct #Hughes Settlement;              1129-000
                                                       Payment #4
                                                                                    $64.97
              {13}                                     Acct #Hughes Settlement;              1229-000
                                                       Payment #4
                                                                                    $64.97
              {15}                                     Acct #Hughes Settlement;              1241-000
                                                       Payment #4
                                                                                   $352.15
 10/30/20        4     Metropolitan Commercial Bank    Bank and Technology Services          2600-000                                        5.00                   3,313.32
                                                       Fees

                                                                                         Page Subtotals:         $1,666.66                 $10.00


{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                                 ! - transaction has not been cleared
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                                                 Cash Receipts And Disbursements Record
Case No.:              19-71781                                           Trustee Name:                      Andrew S. Erickson (330780)
Case Name:             HUGHES, DAVID C.                                   Bank Name:                         Metropolitan Commercial Bank
Taxpayer ID #:         **-***7638                                         Account #:                         ******7285 Checking
For Period Ending:     04/11/2022                                         Blanket Bond (per case limit):     $22,684,758.00
                                                                          Separate Bond (if applicable):     N/A

    1            2                      3                                         4                                5                     6                       7

  Trans.    Check or        Paid To / Received From           Description of Transaction         Uniform       Deposit             Disbursement        Account Balance
   Date      Ref. #                                                                             Tran. Code       $                       $

 11/11/20     101      International Sureties, Ltd       Bond No. 016028270 ANDREW              2300-000                                      1.65                   3,311.67
                                                         ERICKSON
 11/19/20    10005     Zumeral (David C Hughes)          Payment under Order Approving                                 833.33                                        4,145.00
                                                         Compromise (Doc. 66)
              {3}                                        Acct #Hughes Settlement;               1129-000
                                                         Payment #5
                                                                                      $177.02
              {4}                                        Acct #Hughes Settlement;               1129-000
                                                         Payment #5
                                                                                       $20.68
              {8}                                        Acct #Hughes Settlement;               1129-000
                                                         Payment #5
                                                                                       $88.56
              {9}                                        Acct #Hughes Settlement;               1129-000
                                                         Payment #5
                                                                                       $64.97
              {10}                                       Acct #Hughes Settlement;               1129-000
                                                         Payment #5
                                                                                       $64.97
              {13}                                       Acct #Hughes Settlement;               1229-000
                                                         Payment #5
                                                                                       $64.97
              {15}                                       Acct #Hughes Settlement;               1241-000
                                                         Payment #5
                                                                                      $352.16
 11/30/20        5     Metropolitan Commercial Bank      Bank and Technology Services           2600-000                                      5.51                   4,139.49
                                                         Fees
 12/22/20    10006     Zumeral (David C Hughes)          Payment under order (Doc. 66)                                 833.33                                        4,972.82
                                                         approving compromise with debtor
              {3}                                        Acct #Hughes Settlement;               1129-000
                                                         Payment #6
                                                                                      $177.02
              {4}                                        Acct #Hughes Settlement;               1129-000
                                                         Payment #6
                                                                                       $20.69
              {8}                                        Acct #Hughes Settlement;               1129-000
                                                         Payment #6
                                                                                       $88.56
              {9}                                        Acct #Hughes Settlement;               1129-000
                                                         Payment #6
                                                                                       $64.98
              {10}                                       Acct #Hughes Settlement;               1129-000
                                                         Payment #6
                                                                                       $64.98
              {13}                                       Acct #Hughes Settlement;               1229-000
                                                         Payment #6
                                                                                       $64.98
              {15}                                       Acct #Hughes Settlement;               1241-000
                                                         Payment #6
                                                                                      $352.12

                                                                                           Page Subtotals:         $1,666.66                 $7.16


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                  ! - transaction has not been cleared
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                                                                                                                                                  Page: 4
                                                Cash Receipts And Disbursements Record
Case No.:              19-71781                                       Trustee Name:                      Andrew S. Erickson (330780)
Case Name:             HUGHES, DAVID C.                               Bank Name:                         Metropolitan Commercial Bank
Taxpayer ID #:         **-***7638                                     Account #:                         ******7285 Checking
For Period Ending:     04/11/2022                                     Blanket Bond (per case limit):     $22,684,758.00
                                                                      Separate Bond (if applicable):     N/A

    1            2                    3                                       4                                5                     6                        7

  Trans.    Check or       Paid To / Received From        Description of Transaction         Uniform       Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                         Tran. Code       $                       $

 12/31/20        6     Metropolitan Commercial Bank   Bank and Technology Services          2600-000                                       7.63                   4,965.19
                                                      Fees
 01/29/21        7     Metropolitan Commercial Bank   Bank and Technology Services          2600-000                                       7.69                   4,957.50
                                                      Fees
 02/01/21    10007     Zumeral (David Hughes)         Payment under Order approving                                833.33                                         5,790.83
                                                      compromise (Doc. 66)
              {3}                                     Acct #Hughes Settlement;              1129-000
                                                      Payment #7
                                                                                  $177.02
              {4}                                     Acct #Hughes Settlement;              1129-000
                                                      Payment #7
                                                                                   $20.68
              {8}                                     Acct #Hughes Settlement;              1129-000
                                                      Payment #7
                                                                                   $88.56
              {9}                                     Acct #Hughes Settlement;              1129-000
                                                      Payment #7
                                                                                   $64.97
              {10}                                    Acct #Hughes Settlement;              1129-000
                                                      Payment #7
                                                                                   $64.97
              {13}                                    Acct #Hughes Settlement;              1229-000
                                                      Payment #7
                                                                                   $64.97
              {15}                                    Acct #Hughes Settlement;              1241-000
                                                      Payment #7
                                                                                  $352.16
 02/26/21        8     Metropolitan Commercial Bank   Bank and Technology Services          2600-000                                       8.52                   5,782.31
                                                      Fees
 03/23/21    10008     Zumeral (David C Hughes)       Payment under Order approving                                833.33                                         6,615.64
                                                      Compromise with Debtor (Doc. 66)
              {3}                                     Acct #Hughes Settlement;              1129-000
                                                      Payment #8
                                                                                  $177.02
              {4}                                     Acct #Hughes Settlement;              1129-000
                                                      Payment #8
                                                                                   $20.69
              {8}                                     Acct #Hughes Settlement;              1129-000
                                                      Payment #8
                                                                                   $88.56
              {9}                                     Acct #Hughes Settlement;              1129-000
                                                      Payment #8
                                                                                   $64.98
              {10}                                    Acct #Hughes Settlement;              1129-000
                                                      Payment #8
                                                                                   $64.98
              {13}                                    Acct #Hughes Settlement;              1229-000
                                                      Payment #8
                                                                                   $64.98



                                                                                       Page Subtotals:         $1,666.66                 $23.84


{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                               ! - transaction has not been cleared
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                                                             Form 2                                                                                 Exhibit 9
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                                             Cash Receipts And Disbursements Record
Case No.:              19-71781                                       Trustee Name:                      Andrew S. Erickson (330780)
Case Name:             HUGHES, DAVID C.                               Bank Name:                         Metropolitan Commercial Bank
Taxpayer ID #:         **-***7638                                     Account #:                         ******7285 Checking
For Period Ending:     04/11/2022                                     Blanket Bond (per case limit):     $22,684,758.00
                                                                      Separate Bond (if applicable):     N/A

    1            2                    3                                       4                                5                       6                        7

  Trans.    Check or       Paid To / Received From        Description of Transaction         Uniform       Deposit               Disbursement         Account Balance
   Date      Ref. #                                                                         Tran. Code       $                         $

              {15}                                    Acct #Hughes Settlement;              1241-000
                                                      Payment #8
                                                                                  $352.12
 03/23/21    10009     Zumeral (David C Hughes)       Payment under Order Approving                                 833.33                                          7,448.97
                                                      Compromise (Doc. 66)
              {3}                                     Acct #Hughes Settlement;              1129-000
                                                      Payment #9
                                                                                  $177.02
              {4}                                     Acct #Hughes Settlement;              1129-000
                                                      Payment #9
                                                                                   $20.68
              {8}                                     Acct #Hughes Settlement;              1129-000
                                                      Payment #9
                                                                                   $88.56
              {9}                                     Acct #Hughes Settlement;              1129-000
                                                      Payment #9
                                                                                   $64.97
              {10}                                    Acct #Hughes Settlement;              1129-000
                                                      Payment #9
                                                                                   $64.97
              {13}                                    Acct #Hughes Settlement;              1229-000
                                                      Payment #9
                                                                                   $64.97
              {15}                                    Acct #Hughes Settlement;              1241-000
                                                      Payment #9
                                                                                  $352.16
 03/31/21        9     Metropolitan Commercial Bank   Bank and Technology Services          2600-000                                        10.90                   7,438.07
                                                      Fees
 04/30/21     10       Metropolitan Commercial Bank   Bank and Technology Services          2600-000                                        11.91                   7,426.16
                                                      Fees
 05/28/21     11       Metropolitan Commercial Bank   Bank and Technology Services          2600-000                                        11.10                   7,415.06
                                                      Fees
 06/30/21     12       Metropolitan Commercial Bank   Bank and Technology Services          2600-000                                        13.07                   7,401.99
                                                      Fees
 07/30/21     13       Metropolitan Commercial Bank   Bank and Technology Services          2600-000                                        11.86                   7,390.13
                                                      Fees
 08/05/21    10010     DAVID C. HUGHES                Payment under Order (Doc. 66)                                2,500.03                                         9,890.16
                                                      approving compromise with debtor
              {3}                                     Acct #Hughes Settlement;              1129-000
                                                      Payment #10
                                                                                  $177.01
              {3}                                     Acct #Hughes Settlement;              1129-000
                                                      Payment #11
                                                                                  $177.01
              {3}                                     Acct #Hughes Settlement;              1129-000
                                                      Payment #12
                                                                                  $177.03
              {4}                                     Acct #Hughes Settlement;              1129-000
                                                      Payment #10
                                                                                   $20.69


                                                                                       Page Subtotals:         $3,333.36                   $58.84


{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                                 ! - transaction has not been cleared
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                                             Cash Receipts And Disbursements Record
Case No.:              19-71781                                      Trustee Name:                      Andrew S. Erickson (330780)
Case Name:             HUGHES, DAVID C.                              Bank Name:                         Metropolitan Commercial Bank
Taxpayer ID #:         **-***7638                                    Account #:                         ******7285 Checking
For Period Ending:     04/11/2022                                    Blanket Bond (per case limit):     $22,684,758.00
                                                                     Separate Bond (if applicable):     N/A

    1            2                   3                                       4                                5                    6                       7

  Trans.    Check or       Paid To / Received From       Description of Transaction         Uniform       Deposit            Disbursement        Account Balance
   Date      Ref. #                                                                        Tran. Code       $                      $

              {4}                                    Acct #Hughes Settlement;              1129-000
                                                     Payment #11
                                                                                  $20.69
              {4}                                    Acct #Hughes Settlement;              1129-000
                                                     Payment #12
                                                                                  $20.68
              {8}                                    Acct #Hughes Settlement;              1129-000
                                                     Payment #10
                                                                                  $88.56
              {8}                                    Acct #Hughes Settlement;              1129-000
                                                     Payment #11
                                                                                  $88.56
              {8}                                    Acct #Hughes Settlement;              1129-000
                                                     Payment #12
                                                                                  $88.57
              {9}                                    Acct #Hughes Settlement;              1129-000
                                                     Payment #10
                                                                                  $64.98
              {9}                                    Acct #Hughes Settlement;              1129-000
                                                     Payment #11
                                                                                  $64.98
              {9}                                    Acct #Hughes Settlement;              1129-000
                                                     Payment #12
                                                                                  $64.97
              {10}                                   Acct #Hughes Settlement;              1129-000
                                                     Payment #10
                                                                                  $64.98
              {10}                                   Acct #Hughes Settlement;              1129-000
                                                     Payment #11
                                                                                  $64.98
              {10}                                   Acct #Hughes Settlement;              1129-000
                                                     Payment #12
                                                                                  $64.97
              {13}                                   Acct #Hughes Settlement;              1229-000
                                                     Payment #10
                                                                                  $64.98
              {13}                                   Acct #Hughes Settlement;              1229-000
                                                     Payment #11
                                                                                  $64.98
              {13}                                   Acct #Hughes Settlement;              1229-000
                                                     Payment #12
                                                                                  $64.97
              {15}                                   Acct #Hughes Settlement;              1241-000
                                                     Payment #10
                                                                                 $352.13
              {15}                                   Acct #Hughes Settlement;              1241-000
                                                     Payment #11
                                                                                 $352.13



                                                                                      Page Subtotals:             $0.00                $0.00


{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
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                                                               Form 2                                                                                   Exhibit 9
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                                               Cash Receipts And Disbursements Record
Case No.:              19-71781                                           Trustee Name:                      Andrew S. Erickson (330780)
Case Name:             HUGHES, DAVID C.                                   Bank Name:                         Metropolitan Commercial Bank
Taxpayer ID #:         **-***7638                                         Account #:                         ******7285 Checking
For Period Ending:     04/11/2022                                         Blanket Bond (per case limit):     $22,684,758.00
                                                                          Separate Bond (if applicable):     N/A

    1            2                    3                                           4                                5                     6                          7

  Trans.    Check or       Paid To / Received From           Description of Transaction          Uniform       Deposit             Disbursement           Account Balance
   Date      Ref. #                                                                             Tran. Code       $                       $

              {15}                                       Acct #Hughes Settlement;               1241-000
                                                         Payment #12
                                                                                      $352.18
 08/31/21     14       Metropolitan Commercial Bank      Bank and Technology Services           2600-000                                       15.97                    9,874.19
                                                         Fees
 03/03/22     102      Andrew S. Erickson                Combined trustee compensation &                                                     1,763.95                   8,110.24
                                                         expense dividend payments.
                       Andrew S. Erickson                Claims Distribution - Thu, 09-30-      2100-000
                                                         2021
                                                                                  $1,750.00
                       Andrew S. Erickson                Claims Distribution - Thu, 09-30-      2200-000
                                                         2021
                                                                                       $13.95
 03/03/22     103      Capital One Bank (USA), N.A.      Combined dividend payments for                                                      2,366.97                   5,743.27
                                                         Claim #1, 2
                       Capital One Bank (USA), N.A.      Claims Distribution - Thu, 09-30-      7100-000
                                                         2021
                                                                                      $698.78
                       Capital One Bank (USA), N.A.      Claims Distribution - Thu, 09-30-      7100-000
                                                         2021
                                                                                  $1,668.19
 03/03/22     104      Discover Bank Discover Products   DAVID C. HUGHES; Distribution          7100-000                                      998.35                    4,744.92
                       Inc                               payment - Dividend paid at 20.44%
                                                         of $4,883.17; Claim # 3; Filed:
                                                         $4,883.17
 03/03/22     105      Cavalry SPV I, LLC as assignee    DAVID C. HUGHES; Distribution          7100-000                                     3,056.08                   1,688.84
                       of Citibank, N.A.                 payment - Dividend paid at 20.44%
                                                         of $14,948.04; Claim # 4; Filed:
                                                         $14,948.04
 03/03/22     106      American Express National Bank    DAVID C. HUGHES; Distribution          7100-000                                     1,688.84                       0.00
                       c/o Becket and Lee LLP            payment - Dividend paid at 20.44%
                                                         of $8,260.51; Claim # 5; Filed:
                                                         $8,260.51

                                          COLUMN TOTALS                                                             10,000.00             10,000.00                        $0.00
                                                 Less: Bank Transfers/CDs                                                0.00                    0.00
                                          Subtotal                                                                  10,000.00             10,000.00
                                                 Less: Payments to Debtors                                                                       0.00

                                          NET Receipts / Disbursements                                             $10,000.00           $10,000.00




{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                                   ! - transaction has not been cleared
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                                                       Form 2                                                               Exhibit 9
                                                                                                                            Page: 8
                                       Cash Receipts And Disbursements Record
Case No.:           19-71781                                 Trustee Name:                   Andrew S. Erickson (330780)
Case Name:          HUGHES, DAVID C.                         Bank Name:                      Metropolitan Commercial Bank
Taxpayer ID #:      **-***7638                               Account #:                      ******7285 Checking
For Period Ending: 04/11/2022                                Blanket Bond (per case limit): $22,684,758.00
                                                             Separate Bond (if applicable): N/A




                                                                                                NET                    ACCOUNT
                                 TOTAL - ALL ACCOUNTS                     NET DEPOSITS     DISBURSEMENTS               BALANCES
                                 ******7285 Checking                            $10,000.00         $10,000.00                  $0.00

                                                                                $10,000.00              $10,000.00              $0.00




                 04/11/2022                                          /s/Andrew S. Erickson
                   Date                                              Andrew S. Erickson




UST Form 101-7-TDR (10 /1/2010)
